






Opinion issued March 16, 2007














In The

Court of Appeals

For The

First District of Texas

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NO. 01-07-00015-CV

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IN RE BRAZOS EMERGENCY PHYSICIANS ASSOCIATION, P.A.,
Relator






Original Proceeding on Petition for Writ of Mandamus





MEMORANDUM  OPINION


	Relator, Brazos Emergency Physicians Association, P.A., filed a petition for
writ of mandamus complaining of Judge McCally's (1) December 14, 2006 order
granting a motion to consolidate. (2) 

	We deny the petition for writ of mandamus.  See Tex. R. App. P. 52.8 (a),(d).

PER CURIAM


Panel consists of Justices Taft, Hanks, and Higley.	
1. The Honorable Sharon McCally, judge of the 334th District Court of Harris
County, Texas.  The underlying lawsuit, as consolidated, is Dr. Patrick G.
Woods, et al. v. Joseph Degioanni et al. v. the Methodist Hospital et al., No.
2003-53712, in the 334th District Court, Harris County, Texas.
2. The four lawsuits that have been consolidated are as follows: (1) Dr. Patrick
G. Woods, et al. v. Joseph Degioanni et al., No. 2003-53712, in the 334th
District Court, Harris County, Texas; (2) Brazos Emergency Physicians
Association, P.A. v. The Methodist Health Care System et al., No. 2003-25392,
in the 234th District Court, Harris County, Texas; (3) Brazos Emergency
Physicians Association, P.A. v. The Methodist Health Care System et al., No.
2003-25393, in the 151st District Court, Harris County, Texas; and (4) Brazos
Emergency Physicians Association, P.A. v. The Methodist Hospital et al., No.
2004-52895, in the 295th District Court, Harris County, Texas.


